Case 1:06-cr-00058-IMK-JSK Document 177 Filed 09/07/10 Page 1 of 6 PageID #: 170
Case 1:06-cr-00058-IMK-JSK Document 177 Filed 09/07/10 Page 2 of 6 PageID #: 171
Case 1:06-cr-00058-IMK-JSK Document 177 Filed 09/07/10 Page 3 of 6 PageID #: 172
Case 1:06-cr-00058-IMK-JSK Document 177 Filed 09/07/10 Page 4 of 6 PageID #: 173
Case 1:06-cr-00058-IMK-JSK Document 177 Filed 09/07/10 Page 5 of 6 PageID #: 174
Case 1:06-cr-00058-IMK-JSK Document 177 Filed 09/07/10 Page 6 of 6 PageID #: 175
